                    IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

JEFFERSON GRIFFIN,

      Plaintiff,

              v.

NORTH CAROLINA STATE BOARD OF
ELECTIONS,
                                               No. 5:24-cv-00731-M-RJ
      Defendant,

              and

ALLISON RIGGS et al.,

      Intervenor-Defendants.

NORTH CAROLINA DEMOCRATIC
PARTY,

      Plaintiff,

              v.                              No. 5:24-cv-00699-M-KS

NORTH CAROLINA STATE BOARD OF
ELECTIONS et al.,

      Defendants.

CARRIE CONLEY et al.,

      Plaintiffs,

              v.                               No. 5:25-cv-00193-M-RJ

ALAN HIRSCH et al.,

      Defendants.

RESPONSE TO APRIL 30 ORDER BY INTERVENOR-DEFENDANT ALLISON RIGGS




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       Intervenor-Defendant Allison Riggs files this notice in response to the Court’s statement

that it “intends to treat the parties’ briefs as cross-motions for summary judgment and enter sum-

mary judgment for one or more parties pursuant to Rule 56(f)(3) of the Federal Rules of Civil

Procedure.” ECF No. 113 at 2.

       Rule 56(f)(3) authorizes the Court to “consider summary judgment on its own after identi-

fying for the parties material facts that may not be genuinely in dispute.” Moore v. Equitrans,

L.P., 27 F.4th 211, 224 (4th Cir. 2022) (quoting Fed. R. Civ. P. 56(f)); see also ING Bank N.V. v.

M/V TEMARA, IMO No. 9333929, 892 F.3d 511, 524 (2d Cir. 2018) (“In addition to providing

notice, a district court is also required to identify for the parties material facts that may not be

genuinely in dispute before entering summary judgment sua sponte.” (cleaned up)).

       If the Court is considering summary judgment on a ground not raised by the parties, then

it would be improper to enter judgment on that ground since the Court’s April 30, 2025, Order

identifies no material fact that the Court believes may be undisputed. Without that information,

Justice Riggs would not have a meaningful opportunity to defend against that ground.

       Justice Riggs does not understand the Court to be considering summary judgment on a new

ground. Rather, the Court announced its intent to “treat the parties’ briefs as cross-motions for

summary judgment.” ECF No. 113 at 2. Those briefs present the parties’ positions on “the re-

maining federal issues.” Text Order (Apr. 12, 2025). And those positions define the outer bounds

of material facts that could be in dispute because the “substantive law will identify which facts are

material.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

       The parties’ briefs reveal sharp factual disputes, including over the cure process outlined

by the State Board. See, e.g., Riggs Response Br. at 18 (“The cure process is rife with opportunities

for error, including the accidents of the mail system and the disenfranchisement of so-called ‘Never




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Residents,’ who have, in fact, previously lived in North Carolina.”), ECF No. 100; Riggs Reply

Br. at 3 (“Judge Griffin requests more than just retroactive invalidation: he wants to change the

rules only for some military and overseas voters, all without explaining why it would be appropri-

ate to single those voters out for disparate treatment.”), ECF No. 107; Riggs Reply Br. at 6 (“The

briefs in this case already feature an extensive litany of the challenges uniquely faced by military

and overseas voters in complying with the belated cure process—whether it be their remote loca-

tion, the taxing demands of their occupation, irregular access to mail, or their ongoing

responsibilities outweighing a previously unannounced obligation to cure their ballots cast in full

compliance with the law in effect during the election.”). But those factual disputes are “irrelevant

or unnecessary” if they cannot “affect the outcome of the suit under the governing law.” Anderson,

477 U.S. at 248.

       Justice Riggs contends that “federal law bars Judge Griffin’s efforts to overturn the State

Board’s Decision and Order.” Riggs Response Br. at 26. If the Court agrees, then summary judg-

ment is appropriate on the current record. The parties have already submitted extensive briefing

on those federal issues. And none of the factual disputes—over why Judge Griffin chose to target

certain military and overseas voters, whether the “Never Residents” physically lived in North Car-

olina or expressed an intent to live in North Carolina, the burden on servicemembers stationed

overseas, and so forth—could render Judge Griffin’s protests compliant with federal law.

        If, however, the Court is inclined to hold that federal law permits one or more of Judge

Griffin’s protests to proceed, then Justice Riggs objects under Rule 56(f)(3). The parties’ briefs

do not identify any material facts that could support summary judgment against Justice Riggs (or

the State Board). If the Court reads those briefs differently, Justice Riggs is entitled to explain

why those facts are disputed and to come forward with evidence of that dispute.




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                                         CONCLUSION

       The Court should enter summary judgment in favor of Justice Riggs (and the State Board)

stating that federal law bars Judge Griffin’s efforts to overturn the November 2024 general election

for Seat 6 on the Supreme Court of North Carolina.

       Dated: May 2, 2025                    Respectfully submitted,

                                             WOMBLE BOND DICKINSON (US) LLP

                                              /s/ Raymond M. Bennett
                                             Raymond M. Bennett
                                             N.C. State Bar No. 36341
                                             Samuel B. Hartzell
                                             N.C. State Bar No. 49256
                                             Zachary N. Bernstein
                                             N.C. State Bar No. 61681
                                             555 Fayetteville Street, Suite 1100
                                             Raleigh, NC 27601
                                             (919) 755-2112
                                             ray.bennett@wbd-us.com
                                             sam.hartzell@wbd-us.com
                                             zachary.bernstein@wbd-us.com

                                             Counsel for Intervenor-Defendant Allison Riggs




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